                                                           Case 18-60337-lkg   DocFORM
                                                                                    18 1 Filed 10/30/18 Page                   1 of 2                       Page No:     1
                                                              INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                               ASSET CASES

Case No.:                      18-60337                                                                                          Trustee Name:                           Robert T. Bruegge
Case Name:                     CONNER, KIMBERLY R                                                                                Date Filed (f) or Converted (c):        08/30/2018 (f)
For the Period Ending:         09/30/2018                                                                                        §341(a) Meeting Date:                   10/04/2018
                                                                                                                                 Claims Bar Date:                        01/07/2019
                                  1                                    2                       3                           4                        5                                        6

                       Asset Description                            Petition/         Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                        (Scheduled and                            Unscheduled        (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
                   Unscheduled (u) Property)                         Value                  Trustee,              OA =§ 554(a) abandon.        the Estate
                                                                                    Less Liens, Exemptions,
                                                                                       and Other Costs)

Ref. #
1      Single-family home                                             $43,500.00                          $0.00                                          $0.00                                   $43,500.00
       401 E Johnson Ave
       Altamont, IL - 62411-0000
       Effingham County
       3 Bedrooms, 1 Bath FMV
Asset Notes:     10/11/18 Filed Obj Exemptions
2        2014 Dodge Dart                                               $7,825.00                          $0.00                                          $0.00                                    $7,825.00
         60,000 MILES
         NADA Value
3        Living Room, Bedroom, Dining Room Furniture,                   $550.00                           $0.00                                          $0.00                                      $550.00
         Small Kitchen
         Appliances and Cookware, Photos and Books,
         Miscellaneous Wall
         Decor and Textiles
4        TVs (2), Laptop, DVD player, Cell phone                        $500.00                           $0.00                                          $0.00                                      $500.00
5        Everyday Clothes and Shoes                                     $150.00                           $0.00                                          $0.00                                      $150.00
6        Miscellaneous Costume Jewelry                                     $10.00                         $0.00                                          $0.00                                       $10.00
7        Cash                                                           $170.00                           $0.00                                          $0.00                                      $170.00
8        Checking First Mid Illinois Bank & Trust (4423)                   $10.00                         $0.00                                          $0.00                                       $10.00
9        Checking Dieterich Bank (8255)                                 $249.70                           $0.00                                          $0.00                                      $249.70
10       IRA First Mid-Illinois Bank & Trust                          $13,806.20                          $0.00                                          $0.00                                   $13,840.62
Asset Notes:      10/11/18 Filed Obj Exemptions
11       2017 (IL) Income Tax Refund (Received                              $0.00                         $0.00                                          $0.00                                           $0.00
         $60) Expended State


TOTALS (Excluding unknown value)                                                                                                                                             Gross Value of Remaining Assets
                                                                     $66,770.90                           $0.00                                           $0.00                                  $66,805.32



Major Activities affecting case closing:
                                                           Case 18-60337-lkg      DocFORM
                                                                                       18 1 Filed 10/30/18 Page                       2 of 2                       Page No:     2
                                                                 INDIVIDUAL ESTATE PROPERTY RECORD AND REPORT
                                                                                  ASSET CASES

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                     Asset Description                                Petition/              Estimated Net Value               Property              Sales/Funds               Asset Fully Administered (FA)/
                      (Scheduled and                                Unscheduled             (Value Determined by               Abandoned             Received by              Gross Value of Remaining Assets
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                                                                                           Less Liens, Exemptions,
                                                                                              and Other Costs)

 10/18/2018    Received bank statements; Updated value of IRA
 10/11/2018    Filed Obj Exemptions
 10/11/2018    Ltr re bank statements and IRA
 09/20/2018    Westlaw search


Initial Projected Date Of Final Report (TFR):       10/09/2019                    Current Projected Date Of Final Report (TFR):                                /s/ ROBERT T. BRUEGGE
                                                                                                                                                               ROBERT T. BRUEGGE
